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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
 KATHY LAU, Administrator of the Estate of    :            CIVIL ACTION
 Jonathan Lau,                                :
       Plaintiff,                             :            No. 24-cv-6352
                                              :
              v.                              :
                                              :
 CITY OF PHILADELPHIA, et. al.,
      Defendants.


                                         ORDER

      AND NOW, this 8th day of July, 2025, upon consideration of Defendants’ Motion to

Dismiss (ECF No. 12), and all responses thereto (ECF No. 19 & 20), it is hereby ORDERED

that said Motion is GRANTED in PART and DENIED in PART as follows:

      1. COUNT I, COUNT VI, and COUNT VII against Officer Peterson, Detective

          McClain, Officer Avery, Corporal Graham, Corporal Alston, Corporal Holman,

          Corporal Wilkins, Corporal Cason, Officer Henderson, Officer Tomko and Sergeant

          Onge is DISMISSED WITHOUT PREJUDICE, WITH LEAVE TO AMEND;

      2. COUNT I and COUNT II against City of Philadelphia is DISMISSED WITH

          PREJUDICE;

      3. COUNT III against City of Philadelphia is DISMISSED WITHOUT PREJUDICE,

          WITH LEAVE TO AMEND; and

      4. the Motion is DENIED, with respect to COUNT I, COUNT VI, and COUNT VII

          against Officer Wilson.

      IT IS SO ORDERED.

                                                  BY THE COURT:
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                                  /s/ John Milton Younge
                                  Judge John Milton Younge
